911 F.2d 733
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Mary SCOTT Plaintiff-Appellantv.SECRETARY OF HEALTH AND HUMAN SERVICES, Defendant-Appellee
    No. 89-1587.
    United States Court of Appeals, Sixth Circuit.
    Aug. 15, 1990.
    
      1
      Before NATHANIEL R. JONES and ALAN E. NORRIS, Circuit Judges, and JARVIS*, District Court Judge.
    
    ORDER
    
      2
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      3
      It is ORDERED that the judgment of the district court be, and it hereby is, affirmed upon the opinion of the district court.
    
    
      
        *
         The Honorable James H. Jarvis, U.S. District Court for the Eastern District of Tennessee, sitting by designation
      
    
    